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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 18-CV-24996-MOORE
                                              (17-CR-20081-MOORE)
                                      MAGISTRATE JUDGE P.A. WHITE

 ABDUL PIERRELUS,

       Movant,

 v.                                             REPORT OF
                                             MAGISTRATE JUDGE
 UNITED STATES OF AMERICA,

       Respondent.
                                  /

                               I. INTRODUCTION


       This matter is before the court on movant’s pro se motion to
 vacate, filed pursuant to 28 U.S.C. § 2255, which attacks the
 constitutionality of his conviction and sentence in case no.
 17-20081-Cr-Moore.


       This case has been referred to the undersigned for
 consideration and report. Cv-DE#2.1 The undersigned has reviewed
 the entire record in this case, as well as the relevant records
 from the underlying criminal case.2 As discussed below, movant’s
 motion should be DISMISSED as untimely.




       1
        The citation format “Cv-DE#()”refers to docket entries in this § 2255
 case. By contrast, the citation format “Cr-DE#()” refers to docket entries in
 the underlying federal criminal case.
       2
         Courts may consider “the record of prior proceedings” to rule on a §
 2255 motion. See Rule 4(b), Rules Governing Section 2255 Proceedings; see also
 28 U.S.C. § 2255(b) (courts must review “the files and records of the case”).

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                               II. BACKGROUND


       On March 29, 2017, in the underlying criminal case, movant
 signed a plea agreement in which he agreed to plead guilty to
 counts 1 and 5 of the indictment. Cr-DE#37 at 1.3 Count 1 charged
 movant with conspiracy to fraudulently use unauthorized access
 devices. Id. Count 5 charged movant with aggravated identity
 theft. Id.


       The court sentenced movant and entered judgment on June 1,
 2017. The court imposed a total term of 54 months’ imprisonment.
 Cr-DE#52 at 2. This term consisted of 30 months on count 1 and a
 consecutive term of 24 months on count 5. Id. Movant did not
 appeal.


       On November 14, 2018, movant filed the instant § 2255
 motion. Cv-DE#1 at 12. Movant asserts the following claims: (1)
 trial counsel ineffectively allowed him to plead guilty without
 knowledge of the loss amount that the government claimed; (2)
 trial counsel ineffectively failed to object to the loss
 calculation in the PSI; (3) trial counsel ineffectively failed to
 object to a two-point enhancement for being a leader; and (4)
 supposed collateral counsel ineffectively failed to timely file
 the instant § 2255 motion. Id. at 4-8; see also Cv-DE#3.


       Movant acknowledges that he filed his § 2255 motion more
 than one year after his judgment of conviction became final. Cv-
 DE#1 at 10. But movant contends that, on October 19, 2017 (i.e.,
 several months before the statute of limitations expired), he



       3
         Unless otherwise noted, all page citations for docket entries refer
 to the page stamp number located at the top, right-hand corner of the page.

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 hired attorney Paul Petruzzi to file a § 2255 motion. Id. at 6.
 Furthermore, movant contends that Petruzzi “failed and/or
 neglected to file any of the motions stated in the retainer
 agreement as agreed to by the parties.” Id. Thus, movant contends
 that Petruzzi ineffectively failed to file a § 2255 motion, and
 that this failure excuses the untimeliness of his § 2255 motion.
 Id. at 6, 10; Cv-DE#3 at 2-3, 5.


       Movant submits a document titled “attorney’s fee agreement”
 in an attempt to substantiate this claim. Cv-DE#3 at 7.
 Pertinently, this document states that movant and his guarantor
 agreed pay Petruzzi $15,000 “for representation in either a
 motion for reduction based on his cooperation pursuant to Rule 35
 of the Federal Rules of Criminal Procedure or a Motion to Vacate
 his Conviction and Sentence pursuant to 28 U.S.C. § 2255.” Id.
 However, movant did not sign this document. Id. at 8.


                          III. STANDARD OF REVIEW


       Rule 4 of the Rules Governing § 2255 Proceedings provides
 that, “[i]f it plainly appears from the motion, any attached
 exhibits, and the record of prior proceedings that the moving
 party is not entitled to relief, the judge must dismiss the
 motion . . . .” Consistently, the Supreme Court has stated that
 “[f]ederal courts are authorized to dismiss summarily any habeas
 petition that appears legally insufficient on its face[.]”
 McFarland v. Scott, 512 U.S. 849, 856 (1994) (citation omitted);
 Hart v. United States, 565 F.2d 360, 361 (5th Cir. 1978) (per
 curiam) (“Rule 4(b) of [§] 2255 allows the district court to
 summarily dismiss the motion . . . if it plainly appears from the
 face of the motion and any annexed exhibits and the prior
 proceedings in the case that the movant is not entitled to


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 relief[.]”). In reviewing a motion under Rule 4, courts must
 construe it liberally. See Enriquez v. Fla. Parole Comm’n, 227 F.
 App’x 836, 837 (11th Cir. 2007) (citing Haines v. Kerner, 404
 U.S. 519, 520 (1972)).


                               IV. ANALYSIS


       Pertinently, 28 U.S.C. § 2255(f) provides:


       (f) A 1-year period of limitation shall apply to a
       motion under this section. The limitation period shall
       run from the latest of--


       (1) the date on which the judgment of conviction
       becomes final[.] . . .


       Here, the district court entered movant’s judgment of
 conviction on June 1, 2017. Movant did not appeal. Thus, for §
 2255(f)(1) purposes, the judgment became final fourteen days
 later on June 15, 2017. See Murphy v. United States, 634 F.3d
 1303, 1307 (11th Cir. 2011); Ramirez v. United States, 146 F.
 App’x 325, 326 (11th Cir. 2005) (per curiam) (citing Fed. R. App.
 P. 4(b)(1)(A)(I), (6)). However, movant did not file the instant
 motion until November 14, 2018. Therefore, because movant filed
 his motion almost one year and five months after his judgment of
 conviction became final, the motion is untimely.


       The court rejects movant’s argument that Petruzzi’s
 allegedly ineffective failure to timely file a § 2255 motion
 excuses the untimeliness of the instant § 2255 motion. Defendants
 have “no constitutional right to counsel in [a] § 2255
 proceeding[.]” Saunders v. United States, 380 F. App’x 959, 964


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 (11th Cir. 2010) (per curiam); accord United States v. Angelone,
 894 F.2d 1129, 1130 (9th Cir. 1990) (citing Pennsylvania v.
 Finley, 481 U.S. 551, 555 (1987)). As a result, a § 2255 movant
 “cannot claim that he was denied effective assistance of counsel
 [based on counsel’s performance in connection with a § 2255]
 proceeding.” See Saunders, 380 F. App’x at 964 (citing Coleman v.
 Thompson, 501 U.S. 722, 752 (1991)); see also Angelone, 894 F.2d
 at 1130.


       Notably, Petruzzi did not represent movant in the underlying
 criminal case. See generally Case No. 17-20081-Civ-Moore.
 Furthermore, movant does not allege, and the record does not
 reflect, that movant hired Petruzzi to file a direct criminal
 appeal. Thus, this is not a case where Petruzzi represented
 movant yet failed to file a requested notice of appeal. See
 Gomez-Diaz v. United States, 433 F.3d 788, 791–92 (11th Cir.
 2005) (citing Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000)).
 Moreover, although movant cites the purported fee agreement
 between him and Petruzzi to bolster his claim that Petruzzi
 agreed to file a § 2255 motion, movant did not sign it.


       Movant has not requested equitable tolling. Even had he done
 so, he would not be entitled to it.


       Section 2255 is subject to equitable tolling. Akins v.
 United States, 204 F.3d 1086, 1089 (11th Cir. 2000). But
 equitable tolling is proper only if the movant shows “(1) that he
 has been pursuing his rights diligently, and (2) that some
 extraordinary circumstance stood in his way and prevented timely
 filing.” Holland v. Florida, 560 U.S. 631, 649 (2010) (citation
 omitted). “[A]n inmate bears a strong burden to show specific
 facts to support his claim of extraordinary circumstances and due


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 diligence.” Brown v. Barrow, 512 F.3d 1304, 1307 (11th Cir. 2008)
 (per curiam) (citation omitted); see also Lugo v. Sec’y, Fla.
 Dep’t of Corr., 750 F.3d 1198, 1209 (11th Cir. 2014) (“[T]he
 allegations supporting equitable tolling must be specific and not
 conclusory.” (citation omitted)).


       Here, movant has not pleaded specific facts to support any
 inferred request for equitable tolling. Outside of the unadorned
 assertion that Petruzzi failed to file a § 2255 motion that
 Petruzzi allegedly agreed to file, movant has made no effort to
 explain how he pursued his rights diligently or how extraordinary
 circumstances prevented him from filing his motion sooner.
 Indeed, absent any facts indicating that there was some earlier
 impediment to filing, the fact that movant filed his motion,
 however tardily, suggests that he could have filed it earlier.
 And it bears emphasis that “an attorney’s negligence, even gross
 negligence, or misunderstanding about the law is not by itself a
 serious instance of attorney misconduct for equitable tolling
 purposes[.]” Cadet v. Fla. Dep’t of Corr., 853 F.3d 1216, 1237
 (11th Cir. 2017).


       In short, equitable tolling is inappropriate. Consequently,
 movant’s motion should be dismissed as untimely.


                          V. EVIDENTIARY HEARING


       Movant is not entitled to an evidentiary hearing. “[T]he
 motion and the files and records of the case conclusively show
 that [movant] is entitled to no relief[.]” See 28 U.S.C. §
 2255(b). In short, the preceding discussion conclusively shows
 that movant’s arguments against untimeliness are “patently
 frivolous.” See Holmes v. United States, 876 F.2d 1545, 1553


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 (11th Cir. 1989).


                     VI. CERTIFICATE OF APPEALABILITY


       “The district court must issue or deny a certificate of
 appealability when it enters a final order adverse to the
 applicant.” Rule 11(a), Rules Governing § 2255 Proceedings. “If
 the court issues a certificate, the court must state the specific
 issue or issues that satisfy the showing required by 28 U.S.C. §
 2253(c)(2).” Id. “If the court denies a certificate, a party may
 not appeal the denial but may seek a certificate from the court
 of appeals under Federal Rule of Appellate Procedure 22.” Id. “A
 timely notice of appeal must be filed even if the district court
 issues a certificate of appealability.” Rule 11(b), Rules
 Governing § 2255 Proceedings.


       “When the district court denies a habeas petition on
 procedural grounds without reaching the prisoner’s underlying
 constitutional claim, a [certificate of appealability] should
 issue when the prisoner shows . . . that jurists of reason would
 find it debatable whether the petition states a valid claim of
 the denial of a constitutional right and that jurists of reason
 would find it debatable whether the district court was correct in
 its procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484
 (2000).


       Here, in view of the entire record, the court denies a
 certificate of appealability. If movant disagrees, he may so
 argue in any objections filed with the district court.4

       4
         “If the district court considers the timeliness of the [habeas]
 petition sua sponte, it must give the [petitioner] ‘fair notice and an
 opportunity to present [her] position[].’” Aureoles v. Sec’y, D.O.C., 609 F.
 App’x 623, 623 (11th Cir. 2015) (per curiam) (quoting Day v. McDonough, 547

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                            VII. RECOMMENDATIONS


       Based on the foregoing, it is recommended:


       1. That movant’s § 2255 motion (Cv-DE#1) be DISMISSED, with
 prejudice, as untimely;


       2. That no certificate of appealability issue; and


       3. That judgment be entered and the case closed.


       Objections to this report may be filed with the district
 judge within fourteen days of receipt of a copy of the report.
 Failure to file timely objections shall bar movant from a de novo
 determination by the district judge of an issue covered in this
 report and shall bar the parties from attacking on appeal factual
 findings accepted or adopted by the district judge except upon
 grounds of plain error or manifest injustice. See 28 U.S.C. §
 636(b)(1); Thomas v. Arn, 474 U.S. 140, 148-53 (1985); RTC v.
 Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993).



       SIGNED this 4th day of December, 2018.




                                     UNITED STATES MAGISTRATE JUDGE



 U.S. 198, 210 (2006)). This report and recommendation serves as fair notice.
 Cf. Fharmacy Records v. Nassar, 465 F. App’x 448, 458 (6th Cir. 2012) (per
 curiam); Ferreira-Plasencia v. Ruginski, 34 F. App’x 3, 4 (1st Cir. 2002) (per
 curiam). Furthermore, if he feels that his motion is timely and/or that an
 exception to §2255(f)’s time bar applies, he will have an opportunity to
 present his position in any objections to this report. See Manzini v. The Fla.
 Bar, 511 F. App’x 978, 983 (11th Cir. 2013) (per curiam).

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